             Case 3:21-cv-00259-DCG-JES-JVB           Document 962-13     Filed 05/07/25   Page 1 of 1




                                                      Exhibit 13
                      Designations of Deposition Testimony of Willie Hudspeth (August 24, 2022)


              Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                             Objections
         6:25                     7:3
         10:4                   10:13
         16:5                    17:8
         20:2                   20:14
        55:21                   55:25
        60:25                   61:25
        62:14                   67:13
         95:3                    96:4
        101:2                  101:18
       114:16                  115:16
        116:3                  116:12
        118:3                   119:1
      120:18                   120:24
      121:17                   121:19
      121:24                   121:24
      121:25                    122:4
        126:1                   126:6
      126:17                    127:2




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